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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                                  f. f                        ill
                             EASTERN DISTRICT OF VIRGINIA                         jj AUG        1 6 2022      y
                                       Richmond Division                           CLERK. U.S. DISTRICT COURT
                                                                                           RICHMOND. VA


 UNITED STATES OF AMERICA                          Criminal No. 3:22-cr-026-REP

                                                   18U.S.C. §1349
                                                   Conspiracy to Commit Wire Fraud
                                                   (Coimt 1)

 JOSHUA BRIAN ROMANO,                              18U.S.C. §§ 1343 & 2
                                                   Wire Fraud
                        Defendant.                 (Counts 2-7)

                                                   18 U.S.C. §157(3)
                                                   Bankruptcy Fraud
                                                   (Count 8)

                                                   18 U.S.C. §152(2)
                                                   False Statement Under Oath In Relation to
                                                   Bankruptcy
                                                   (Count 9)

                                                   18 U.S.C. §§ 981 & 982
                                                   Forfeiture Allegation

                               SUPERSEDING INDICTMENT


                               August 2022 Term—at Richmond, Virginia

       THE GRAND JURY CHARGES THAT:

                             INTRODUCTORY ALLEGATIONS
                                                                                                      In j'
       At all times relevant to this Superseding Indictment:

       1.      Defendant JOSHUA BRIAN ROMANO owned and operated various businesses

that purchased, rehabilitated, and sold residential properties in the Richmond, Virginia

metropolitan area. Those businesses included CNJ Ventures, LLC,Cobblestone Development

Group,and Falling Water Construction and Design, LLC.
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       2.       Lindsey Epps Passmore was employed as a paralegal by Law Firm A,a solo

practice run by Attomey A. Law Firm A specialized in real estate law, most particularly

representation of parties in real estate closings and other transactions.

        3.      Law Firm A maintained real estate trust accounts for use in real estate

transactions. Funds deposited in those real estate trust accounts were held in trust or escrow and

could be disbursed only for transaction-specific purposes and with the consent ofthe client who

deposited the funds with Law Firm A. Funds deposited into Law Firm A's real estate trust

account belonged to the client who deposited those funds until the funds were disbursed in

accordance with the client's directions. Passmore's duties included the disbursement offunds

from Law Firm A's real estate trust accounts.


       4.       One of Law Firm A's real estate trust accounts was account number xxxxx9976

with Park Sterling Bank. Passmore was authorized to transact business for Law Firm A using

that account.


       5.       Lender A was a private "hard money" lender that lent funds to ROMANO (acting

through CNJ Ventures and other entities)for use in the purchase and rehabilitation ofresidential

properties. These "hard money" loans were generally made for shorter terms and at much higher

interest rates than conventional commercial loans. Lender A and ROMANO contemplated that

ROMANO would repay the principal balance on the loans from the profit on the sale ofthe

residential properties.

       6.       Acting as both borrower(as owner of CNJ Ventures or Cobblestone) and

guarantor (in his personal capacity) ofthe "hard money" loans, ROMANO executed Commercial

Loan Affidavits identifying the property to be developed by the property's address. These
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affidavits also provided that "[t]he purpose ofthe loan secured by a first deed oftrust on the

[property described in the affidavit], is business or commerqial, and not for personal, household,

or family purposes. Specifically, the pugjose is to purchase and/or rehabilitate investment real

estate."


        7.     As a general rule, the "hard money"loans were also generally governed by

Construction Loan Escrow Agreements or similar agreements. In all instances, though,the funds

loaned ("the escrowed funds") were held in Law Firm A's real estate trust account and could be

disbursed to ROMANO only for specific purposes related to the purchase and rehabilitation of

the specific properties in question. In all instances, ROMANO was also required to notify Lender

A ofthe amount sought and the purpose ofthe disbursement. Lender A then had to authorize the

disbursement(also referred to as a "draw").

        8.     Law Firm A represented Lender A and ROMANO with respect to the loans

referenced above. In addition to drafting escrow agreements and other documents. Attorney A

held funds lent to ROMANO in escrow accounts, including Park Sterling account number

xxxxx9976, pending disbursement in accordance with the directives ofthe relevant escrow

agreements or Lender A's instructions. Passmore was generally responsible for the disbursement

of Lender A's escrowed funds to ROMANO.

                                          COUNT ONE
                              (Conspiracy to Commit Wire Fraud)

       9.      The Introductory Allegations contained in paragraphs one through eight are

incorporated by reference as iffully set forth here.

       10.     Beginning before at least September 2,2015, and continuing through on or about

at least December 5,2017, the exact dates being unknown to the Grand Jury, in the Eastern

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District of Virginia and within the jurisdiction ofthis Court, as well as elsewhere, defendants

JOSHUA BRIAN ROMANO and Lindsey Epps Passmore did unlawfully and knowingly

conspire with each other to commit offenses contained within Chapter 63 of Title 18 ofthe

United States Code,that is: to knowingly execute and attempt to execute a scheme and artifice to

defraud and to obtain property by means of materially false and fraudulent pretenses,

representations, and promises, and for the purpose of executing the scheme and artifice to

defraud, transmitting and causing transmission of writings, signs, and signals in interstate and

foreign commerce,in violation of Title 18, United States Code, Section 1343.

       (In violation of Title 18, United States Code, Section 1349.)

                             COUNTS TWO THROUGH SEVEN
                                          (Wire Fraud)

       11.     The Introductory Allegations contained in paragraphs one through eight are

incorporated by reference as iffully set forth here.

       12.     Beginning before at least September 2,2015, and continuing through on or about

at least December 5,2017,the exact dates being unknown to the Grand Jury, in the Eastern

District of Virginia and within the jurisdiction ofthis Court, as well as elsewhere, defendant

JOSHUA BRIAN ROMANO and Lindsey Epps Passmore, aided, abetted, induced, counseled,

and encouraged by each other, did knowingly, unlawfully, and with intent to defraud, execute

and attempt to execute a scheme and artifice to defraud Lender A and to obtain money,fimds,

and property belonging to Lender A which had been entrusted to Law Firm A, by means of

materially false and fraudulent pretenses and promises.
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                            Purpose of the Scheme and Artifice to Defraud

       13.     The purpose ofthe scheme and artifice to defraud was for ROMANO,aided and

abetted by Passmore, to:(a) unlawfully enrich himselfthough embezzlement ofLender A's

funds held in escrow by Law Firm A; and(b)conceal the embezzlement from Lender A and

Attorney A,thereby avoiding further inquiries about the status ofthe embezzled funds and

requests for repayment, as well as increasing the likelihood that Lender A and other lenders

would make additional loans to ROMANO.

                    Manner and Means of the Scheme and Artifice to Defraud


       14.     The manner and means ofthe scheme and artifice to defraud included, but were

not limited to, the following:

               a.       Acting at ROMANO'S direction, and without the knowledge or

       authorization ofLender A or Attomey A,Passmore wired escrowed funds to be applied

       by ROMANO toward various purposes not authorized by Lender A.

               b.       Upon receiving the escrowed funds, ROMANO did not spend the funds on

       materials or services related to the construction projects for which those funds had been

       specifically escrowed.

               c.       Rather, ROMANO used the funds to cover expenses for other unrelated

       construction projects, expenses associated with the sale of unrelated properties, business

       operating expenses, and personal expenses.

               d.       At times, ROMANO arranged the purchase of properties for the purpose

       of using fimds escrowed for those purchases to fund other non-authorized work.
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               e.     To conceal the embezzlement,Passmore sent Lender A emails with false

       escrow balances as to the relevant loans.


               f.     ROMANO falsely claimed at various times that Attorney A and Passmore

       had embezzled the escrowed funds themselves without ROMANO's knowledge.

       15.     ROMANO and Passmore embezzled funds that Lender A had deposited into Law

Firm A's real estate trust account number xxxxx9976 with Park Sterling Bank in connection with

CNJ Ventures' purchase and rehabilitation ofthe following properties:

               a.     2000 Prince George Road,Richmond, Virginia

               b.     2520 Stratford Road,Richmond, Virginia

               c.     3414 West Franklin Street, Richmond, Virginia

               d.     4110 Grove Avenue, Richmond, Virginia

               e.     2624 Idlewood Avenue, Richmond, Virginia

               f.     701 North 35^*^ Street, Richmond, Virginia

       16.     On March 20,2017, Lender A deposited the sum of$223,100 into Park Sterling

account number xxxxx9976 to be held in escrow and released only for expenses associated with

construction materials and work on 2624 Idlewood. Passmore, acting at ROMANO's direction,

engaged in the following transactions utilizing the funds held in escrow for the Idlewood project:

               a.     On March 21,2017,Passmore sent an email to Lender A stating that"we

       need to request a draw from Idlewood in the amount of$71,565.03." The same day

       Lender A responded to the email(with ROMANO copied),"Linsey Please assist Thank

       you."
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               b.     Later on March 21,2017,Passmore ordered the wiring of$71,565.03 of

       the funds escrowed for the Idlewood project to Law Firm B, which was handling the

       closing on ROMANO'S sale of 11340 Buckhead Terrace, Midlothian, Virginia.

       ROMANO had to apply the $71,565.03 to various outstanding expenses at closing in

       order to complete the sale ofthe Buckhead Terrace property.

               c.     On April 28,2017,Passmore, without the knowledge or permission of

       Lender A,ordered the wiring of$12,239.61 offunds escrowed for the Idlewood project

       to Law Firm C, which was handling the closing on ROMANO'S sale of 11 Overbrook

       Road, Richmond, Virginia. ROMANO had to apply the $12,239.61 to various

       outstanding expenses at closing in order to complete the sale of the Overbrook Road

       property.

               d.     On June 15,2017,Passmore ordered the wiring of a $33,975 disbursement

       from the funds escrowed for the Idlewood project to Falling Water's operating account

       without Lender A's knowledge or permission. ROMANO applied only $9,450 ofthe

       disbursement to the Idlewood project.

              e.      On August 3,2017,Passmore ordered the wiring of a $34,975

       disbursement from the funds escrowed for the Idlewood project to Falling Water's

       operating account with Lender A's authorization. ROMANO misapplied approximately

       $25,895.83 of the disbursement on expenses unrelated to the Idlewood project.

       17.    Lender A eventually became concerned about the disposition ofthe escrowed

funds and inquired with Passmore as to the escrow balances for each property. In response.
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Passmore sent Lender A emails that falsely reported the balances held in escrow for these

properties.

        18.    For instance, on December 5,2017,Passmore sent Lender A an email falsely

reporting the escrow account balances as to the following properties:

 Property                       Reported Escrow Balance              Actual Escrow Balance


 2000 Prince George Road        $243,000                             $100

 2520 Stratford Road            $194,040                             $140

 3414 West Franklin Street      $151,004.62                          $222.17

 4110 Grove Avenue              $187,657                             $88.87

 2624 Idlewood Avenue           $56,264.61                           $125

 701 North 35^ Street           $168,612.01                          $0



                        Execution of the Scheme and Artifice to Defraud


        19.    On or about the following dates, in the Eastern District of Virginia and within the

jurisdiction ofthis Court, as well as elsewhere,for the purpose of executing and attempting to

execute the scheme and artifice to defraud, defendant JOSHUA BRIAN ROMANO and Lindsey

Epps Passmore, aided, abetted, induced, counseled, and encouraged by each other, caused to be

sent and delivered in interstate and foreign commerce via wire communication the signs, signals,

and writings set forth below:


 Count    Approximate Date                             Wire Communication


    2          3/21/2017         Email from Passmore's account with Law Firm A to Lender A
                                 routed outside the Commonwealth of Virginia requesting draw of
                                 $71,565.03 from funds escrowed for Idlewood project
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Count   Approximate Date                          Wire Communication


 3         3/21/2017         Wiring of$71,565.03 (consisting ofescrowed Idlewood funds
                             belonging to Lender A)from Law Firm A's escrow account
                             number xxxxx9976 with Park Sterling Bank"via Federal Reserve
                             facility outside the Commonwealth of Virginia to account ofLaw
                             Firm B for ROMANO'S sale of 11340 Buckhead Terrace



 4         4/28/2017         Wiring of$12,239.61 (consisting ofescrowed Idlewood funds
                             belonging to Lender A)from Law Firm A's escrow account
                             number xxxxx9976 with Park Sterling Bank via Federal Reserve
                             facility outside the Commonwealth of Virginia to account ofLaw
                             Firm C for ROMANO'S sale of 11 Overbrook Road




 5         6/15/2017         Wiring of$33,975 (consisting ofescrowed Idlewood funds
                             belonging to Lender A)from Law Firm A's escrow account
                             number xxxxx9976 with Park Sterling Bank via Federal Reserve
                             facility outside the Commonwealth of Virginia to Falling Water
                             operating accoxmt


 6          8/3/2017         Wiring of$34,975 (consisting ofescrowed Idlewood funds
                             belonging to Lender A)from Law Firm A's escrow account
                             number xxxxx9976 with Park Sterling Bank via Federal Reserve
                             facility outside the Commonwealth of Virginia to Falling Water
                             operating account



 7         12/5/2017         Email from Passmore's account with Law Firm A to Lender A
                             routed outside the Commonwealth of Virginia falsely reporting
                             escrow balances on projects set forth in paragraph 18



            (In violation of Title 18, United States Code, Sections 1343 & 2.)
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                                         COUNT EIGHT
                                        (Bankruptcy Fraud)

       20.     The Introductory Allegations contained in paragraphs one through eight are

incorporated by reference as iffully set forth here.

       21.     To begin a bankruptcy case, a bankruptcy petition is filed in the United States

Bankruptcy Court. Persons or businesses that file a bankruptcy petition are referred to as

"debtors" under federal bankruptcy law. One type of bankruptcy case is a Chapter 7 bankruptcy,

under which a debtor can obtain a discharge ofcertain debts. A debtor who receives a discharge

has no further legal obligation to pay the discharged debts.

       22.     A debtor who files a Chapter 7 bankruptcy petition is required to file with the

bankruptcy court, under penalty of perjury, schedules and statements offinancial affairs that list

all legal and equitable interests of the debtor(whether or not such interest is actually held in the

debtor's name)as well as all liabilities (including debts owed to creditors) as ofthe date ofthe

bankruptcy filing. Section 541 ofthe Bankruptcy Code(11 U.S.C. §§ 101, et seq.) defines what

is included in a "bankruptcy estate" ofthe debtor.

       23.     The United States Trustee Program is the component ofthe Department of Justice

responsible for overseeing the administration of bankruptcy cases and private trustees under 28

U.S.C. § 586 and 11 U.S.C. § 101, et seq. Upon the filing of a Chapter 7 bankruptcy petition,,a

Chapter 7 Trustee is appointed to act as trustee for the bankruptcy case. Title 11 U.S.C. § 704

establishes the appointed Trustee's duties, which include responsibility for the administration of

the bankruptcy estate, including the liquidation ofthe debtor's non-exempt property, if any, and

distribution ofthe resulting proceeds to the debtor's creditors.

       24.     After filing a Chapter 7 bankruptcy petition, pursuant to 11 U.S.C. § 341, a debtor

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is required to appear and testify under oath in response to questions regarding the bankruptcy

estate (the "341 Meeting"). The Chapter 7 Trustee presides over the 341 Meeting, under the

supervision ofthe United States Trustee, and creditors are entitled to appear and also ask

questions ofthe debtor.

       25.     Certain types of debt cannot be discharged in bankruptcy. For instance, 11 U.S.C.

§ 523(a)(2)(A) provides that debt "for money [to the extent obtained by]false pretenses, a false

representation, or actual fraud" cannot be discharged, and 11 U.S.C. § 523(a)(4) provides that

debt for "fraud while acting in a fiduciary capacity, embezzlement, or larceny" cannot be

discharged.

       26.     A creditor who wants to challenge a debtor's attempt to discharge certain debt in a

bankruptcy must initiate what is known as an "adversary proceeding" by filing a complaint.

Otherwise, the debt will be discharged. The debtor can then file a response to the complaint and

the bankruptcy court conducts a trial to determine whether the debt is subject to discharge.

                                   The Scheme and Artifice to Defraud


       27.     Beginning before at least January 18,2019, and continuing through on or about

September 22,2021,the exact dates being unknown to the Grand Jury, in the Eastern District of

Virginia and within the jurisdiction ofthis Court, defendant JOSHUA BRIAN ROMANO did

devise and intend to devise a scheme to defraud one of his creditors (namely. Lender A),as well

as the Chapter 7 trustee, and for the purpose of executing the scheme, made false and fraudulent

representations and claims as set forth below.

                           Purpose of the Scheme and Artifice to Defraud

       28.     The purpose ofthe scheme and artifice to defraud was for ROMANO to obtain


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the discharge of debt owed to Lender A which was debt for money ROMANO had obtained by

false pretenses, embezzlement, and defalcation while acting in a fiduciary capacity.

                 Manner,Means, and Execution of the Scheme and Artifice to Defraud

       29.       The manner, means, and execution ofthe scheme and artifice to defiraud included

the following:

                 a.     On October 31,2018, ROMANO filed, through his attorney, a bankruptcy

       petition under Chapter 7 ofthe Bankruptcy Code in the United States Bankruptcy Court

       for the Eastem District of Virginia, Richmond Division that was assigned docket number

       18-35464-KRH. In his bankruptcy schedules,ROMANO named Lender A as one of his

       creditors. ROMANO subsequently attempted to have his debt to Lender A discharged in

       bankruptcy.

                 b.     On January 18, 2019, ROMANO testified imder oath at a 341 Meeting

       related to his bankruptcy petition. At this meeting, he falsely suggested that Attorney A

       and Lindsey Passmore had stolen escrowed funds firom him without his knowledge.

                 c.     On August 17, 2020, Lender A initiated an adversary proceeding filed

       under adversary proceeding number 20-03121-IvRH, by filing though its attomey a

       complaint alleging that ROMANO'S debt to Lender A could not be discharged in

       bankruptcy because ROMANO had obtained the funds in question by false pretenses,

       embezzlement, and defalcation while acting in a fiduciary capacity.

                 d.     On September 15,2020, ROMANO filed through his attomey an answer

       to Lender A's complaint, falsely alleging that he had only used disbursements firom

       escrowed funds for the improvement ofthe properties set forth above in accordance with


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     his agreements with Lender A. ROMANO also falsely claimed that he had never received

     any ofthe escrowed funds and that, to his knowledge,those funds were still in the hands

     ofLawFirm A.


            e.     On or about July 13, 2021,ROMANO testified in relation to a case under

     Chapter 7 ofthe Bankruptcy Code(that is, adversary proceeding number 20-3121-KRH,

     filed by Lender A in the United States Bankruptcy Court for the Eastern District of

     Virginia, Richmond Division). Before ROMANO'S testimony, the Clerk administered an

     oath to him and ROMANO swore to tell the truth in the testimony he was about to give.

     During his testimony, ROMANO falsely accused Attorney A and Lindsey Passmore of

     stealing certain escrowed funds without his knowledge,falsely denied that he had

     requested or knowingly received funds escrowed for the properties referenced in

     paragraph 15 ofthis Superseding Indictment(with the exception of 2624 Idlewood

     Avenue), and falsely denied that he had misused any ofthe escrowed funds he had

     received.


            f.     At the conclusion ofthe trial, the Bankruptcy Judge presiding over the

     trial denied Lender A's challenge to ROMANO'S discharge of the debt owed to Lender A

     by finding in favor of ROMANO.On August 27, 2021,the Bankruptcy Judge entered an

     Order finding in favor of ROMANO,denying Lender A's challenge to the discharge of

     the debt owed by ROMANO to Lender A,and dismissing Lender A's adversary

     proceeding with prejudice.

            g.     On September 22,2021,the Bankruptcy Court granted ROMANO's

     bankruptcy discharge, which discharged ROMANO'S debts to various creditors,


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        including Lender A.

       (In violation of Title 18, United States Code, Section 157(3).)

                                            COUNT NINE
                       (False Statement Under Oath in Relation to Bankruptcy)

        30.       The Introductory Allegations contained in paragraphs one through eight and

allegations contained in paragraphs 21-29 of Count Eight are incorporated by reference as iffully

set forth here.


       31.        On or about July 13, 2021, in the Eastern District of Virginia and within the

jurisdiction ofthis Court, defendant JOSHUA BRIAN ROMANO made a false material

statement under oath in and in relation to a case under Title 11 ofthe United States Code (that is,

adversary proceeding number 20-3121-KRH,filed in the United States Bankruptcy Court for the

Eastern District of Virginia as part ofIn Re: Joshua B. Romano,debtor, docket number 18-

35464-KRH),by falsely testifying that, with the exception of2624 Idlewood Avenue, he had not

requested draws on the properties referenced in paragraph 15 ofthis Superseding Indictment and

was unaware that funds from draws on any of those six properties had been deposited into his

business operating account or misapplied in any way.

       32.        In fact, as defendant JOSHUA BRIAN ROMANO knew during the foregoing

testimony, he had requested that Lindsey Passmore make the draws referenced above and was

aware ofthe fact that Passmore had wired funds from the draws into ROMANO'S business


operating account(after which he used them for expenses not authorized by his agreement with

Lender A)or applied them to ROMANO'S expenses not authorized by his agreement with

Lender A.


         (In violation of Title 18, United States Code, Section 152(2).)

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                                  FORFEITURE ALLEGATION


       Pursuant to Rule 32.2(a) Fed. R. Crim.P., the defendant is notified that, ifconvicted of

any ofthe offenses alleged in Counts One through Seven or Nine, he shall forfeit to the United

States any property, real or personal, constituting, or derived from,proceeds obtained directly or

indirectly as the result ofsuch violations, including any assets that may be directly forfeitable as

proceeds or subject to forfeiture as a substitute asset.

       Property subject to forfeiture includes, but is not limited to, a sum of money of at least

$1,206,953,27, which represents the proceeds of the offenses charged, which shall be

reduced to a money judgment against the defendant in favor of the United States.

       (In accordance with 18 U.S.C. § 982(a)(2), 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C.
§ 2461(c), and 21 U.S.C. § 853(p).)

                                              A TRUE BILL:




                                               FDREPERSON




                                                                      Pursuant to the E^QovenuueotAc^
      JESSICA D. ABER                                                the original ofthis page bai bwofilU
      UNITED STATES ATTORNEY                                            under seal in die Qeric'a OtSfid


                ✓




By:
                            C -
      Michael C. Moore
      Assistant United States Attorney




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